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                Case 2:07-cr-00080-CRW-PAL       Document 327       Filed 07/19/12     Page 1 of 1


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                           Plnintiff,                           02:07-CR-00020-CRW

             %F.
                                                                        ORDER
             M ICHAEL JENIG S,

                           Defendant.

                          In itsresponseto thedefendant's28U.S.C.section 2255 motion forpost-
             conx-iction relief,tbegovernmentcontendsrm evidentiary hearing isrequired.
                          n ecoku'
                                 talready scheduled aone-day evidentiaa hearilpgto begin at9:00 a.m .
             on August 15,2012,atthe IJ.S.Courthottse in LasV egas,
                          Nlm 'detkndanthasfiled(m July 17,2012,an Ssunopposed M otionby M ichael
             lenkirlsto ContinuetheEvidentiaryHearing.''
             .


                          To deddewhetheran evidentiary hearingisrequired:and ifSo whethertlw
             scheduled lwaringmustberescheduled,thecourtwillholdatelephone conferenceat11:00a.m.
             on W ednesday,July 25,2012,toreceiveargum entsofcounselonwhetbe:an evidentiary hearing
             willbeheli QnAugtust15 in LasVegasand,ifnot,whenthedefendalg'smotion >vi1lbedeemed
             submitted forruling.
                          Thecoartwillhaveacoartrepozlerfrom Iowaon thetelephone coatkrence,
                          Any personwishing toparticipatein thehearing shalluse thet'mcet-m e
             conferenceline''oftheU.S.DistrictCourtfortheSouthem DistrictofIowa by dialing515/284-
             6263 and entering+ isprompt:l16263.
                          IT IS SO ORDERED.
                          Dated this19çhday ofJuly,2012,



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